            I N T H E DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:11 CR 22-7


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                   ORDER
                                       )
KIRSTEN BEAUBIEN McGILLIVRAY.          )
                                       )
______________________________________ )

      THIS CAUSE came on to be heard before the undersigned at the close of a

Rule 11 proceeding that was held before this court on January 10, 2012. At that time

the court presented the issue of whether or not the defendant should be detained

pursuant to 18 U.S.C. § 3143(a0(20. This matter further came before the court

pursuant to an oral motion made by counsel for defendant requesting that defendant

continue to be released on terms and conditions of pretrial release, pursuant to 18

U.S.C. § 3145(c). The defendant was present with her attorney, Tony Rollman and

the government was present and represented through Assistant United States Attorney

John Pritchard. From the arguments of counsel for the defendant and the arguments

of the Assistant United States Attorney and the records in this cause, the court makes

the following findings:

      Findings.    On September 20, 2011 a bill of indictment was issued charging

the defendant with conspiracy to possess with intent to distribute methamphetamine,

a schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1) and 846. On



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January 10, 2012, the undersigned held an inquiry, pursuant to Rule 11 of the Federal

Rules of Criminal Procedure and accepted a plea of guilty of defendant to that crime.

At the end of the Rule 11 proceeding, the court presented the issue of whether or not

the defendant should now be detained, pursuant to 18 U.S.C. § 3143(a)(2).

       Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

       (2) The judicial officer shall order that a person who has been found
       guilty of an offense in a case described in subparagraph (A), (B), or (C)
       of subsection (f)(1) of section 3142 and is awaiting imposition or
       execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood that
       a motion for acquittal or new trial will be granted; or

              (ii) an attorney for the Government has recommended that no
              sentence of imprisonment be imposed on the person; or

              (B) the judicial officer finds by clear and convincing evidence that
              the person is not likely to flee or pose a danger to any other person
              or the community.

       From an examination of the records in this cause, it appears the defendant has

now entered a plea of guilty on January 10, 2012 to the crime of conspiracy to possess

with intent to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1) and

846.   That crime is one of the crimes that is referenced under 18 U.S.C. §

3142(f)(1)(C). The undersigned made an inquiry of Assistant United States Attorney

John Pritchard as to whether or not there was going to be a recommendation that no

sentence of imprisonment be imposed upon the defendant. Mr. Pritchard advised the

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court that such a recommendation could not be made in this matter. As a result of the

plea of guilty of defendant, the undersigned cannot find there is a substantial

likelihood that a motion for acquittal or new trial will be granted. Based upon the

statements of Mr. Pritchard it appears that no attorney for the government has

recommended or will recommend that no sentence of imprisonment be imposed upon

defendant. It would thus appear that the undersigned is required to apply the factors

as set forth under 18 U.S.C. § 3143(a)(2) which require the detention of defendant.

      Defendant’s counsel made an oral motion contending that exceptional

circumstances exists which would merit the continued release of defendant, pursuant

to 18 U.S.C. § 3145(c). That statute provides as follows:

      (c) Appeal from a release or detention order.---
      An appeal from a release or detention order, or from a decision denying
      revocation or amendment of such an order, is governed by the provisions
      of section 1291 of title 28 and section 3731 of this title. The appeal shall
      be determined promptly. A person subject to detention pursuant to
      section 3143(a)(2) or (b)(2), and who meets the conditions of release set
      forth in section 3143(a)(1) or (b)(1), may be ordered released, under
      appropriate conditions, by the judicial officer, if it is clearly shown that
      there are exceptional reasons why such person’s detention would not be
      appropriate.

      In October 2009 United States District Judge Martin Reidinger instructed the

undersigned to conduct the exceptional circumstances determination as set forth by

the above referenced statue.

      The definition of what constitutes exceptional circumstances is set forth in

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United States v.Vilaiphone, 2009 WL 412958 (February 19, 2009 W.D.N.C.). In

Vilaiphone Judge Reidinger stated:

      Courts generally have defined “exceptional reasons” as circumstances
      which are “clearly out of the ordinary, uncommon, or rare.” See United
      States v. Larue, 478 F.3d 924, 926 (8 th Cir. 2007) (finding defendant’s
      compliance with terms of pretrial release, lack of criminal record,
      payment of child support, and continued employment were not
      exceptional reasons warranting release); United States v. Lea, 360 F.3d
      401, 403 (2d Cir. 2004) (“Exceptional circumstances exist where there
      is ‘a unique combination of circumstances giving rise to situations that
      are out of the ordinary.’”) (quoting United States v. DiSomma, 951 F.2d
      494, 497 *2d Cir. 1991)). The fact that the Defendant has cooperated
      with the Government and has complied with the terms and conditions of
      his pretrial release do not constitute exceptional reasons warranting his
      continued release pending sentencing. See United States v. Little, 485
      F.3d 1210, 1211 (8 th Cir. 2007) (“It is not exceptional to expect every
      defendant to timely appear in court and to obey the court’s order
      concerning pretrial conditions of release. Nor it is clearly out of the
      ordinary, uncommon or rare for defendants to cooperate in the
      investigation of their criminal acts.”). Similarly, the Defendant’s lack of
      a significant criminal history and his gainful employment, while
      commendable, do not rise to the level of “exceptional reasons.” See Lea,
      360 F.3d at 403-04 (“There is nothing ‘exceptional about going to
      school, being employed, or being a first-time offender, either separately
      or in combination.”). Finally, while the Court is cognizant of the
      hardships that the Defendant’s detention will create for his immediate
      family, such hardships are common to nearly every case involving a term
      of imprisonment and thus do not qualify as “exceptional reasons” under
      § 3145(c). See United States v. Garcia, 340 F.3d 1013, 1022 (9 th Cir.
      2003) (“Hardships that commonly result from imprisonment do not meet
      the standard.”); United States v. Mahabir, 858 F.Supp 504, 508 (D.Md.
      1994)(“A defendant’s incarceration regularly creates difficulties for him
      and his family. Courts have found that such purely personal
      considerations do not constitute exceptional reasons within the meaning
      of Section 3145(c).”)



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      At the hearing defendant’s counsel presented to the court documentation which

showed that the defendant has been undergoing treatment for obstetrical problems,

including treatment for possible cancer. On November 1, 2011 defendant underwent

a surgical procedure and is now being seen postoperative care. As a part of the

postoperative care, defendant is receiving a type of chemotherapy which should last,

if there are no complications, until mid-February 2012.

      The undersigned has compared the contentions of defendant with the definition

of “exceptional circumstances” by Judge Reidinger as set forth in Vilaiphone. The

undersigned finds that the circumstances regarding the defendant are “clearly out of

the ordinary, uncommon, or rare.” Mr. Pritchard, on behalf of the government, stated

to the court that he agrees with the contentions of defendant. As a result of the

evidence of the defendant and the lack of objection by the government, the

undersigned is of the opinion that the circumstances shown by defendant do meet the

definition of exceptional circumstances that merits the continued release of defendant.



                                      ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release of defendant are hereby ordered to continue in force and effect until February

27, 2012. On that date, the undersigned will conduct a hearing in the United States

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Courthouse in courtroom #2 in Asheville, North Carolina at 9:30 a.m. to determine

whether or not defendant can continue to show that exceptional reasons exists that

would merit her continued release.



                                         Signed: January 18, 2012




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